« Case 2:09-md-02047-EEF-JCW Document 21115 Filed 01/08/18

OFFICE OF THE CLERK

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
500 POYDRAS STREET

NEW ORLEANS, LOUISIANA 70130

Date: January8,2018

Bayne, et al

Page 1 of 12

 

VS.

Taishan Gypsum Co., Ltd et al

 

Case Noi7708284 —

Dear Sir:

Section L_

raease (agu65) ne-sasce) summons on the (complaint) (amended

complaint) ( ___ amended complaint) (third party complaint)

Omni Complaint XXVIII(A) in

Intervention
see attacnea List ror all defendants.

othe

=o the following:

 

 

 

 

 

 

 

1. (name)
(address)
2. (name)
(address)
3. (name)
(address)
4. (name)
(address)

 

Very truly yours,
/s/ Arnold Levin

 

"Signature"

Attorney for Plaintiffs

Address Levin Sedran & Berman
510 Walnut Street, Ste. 500
Philadelphia, PA 19106

 
» Case 2:09-md-02047-EEF-JCW Document 21115 Filed 01/08/18 Page 2 of 12

China National Building Material Co., Ltd.
L. Christopher Vejnoska

Orrick, Herrington & Sutcliffe LLP

The Orrick Building

405 Howard Street

San Francisco, CA 94105

Beijing New Building Materials Public Limited Co.
L. Christopher Vejnoska

Orrick, Herrington & Sutcliffe LLP

The Orrick Building

405 Howard Street

San Francisco, CA 94105

Beijing New Building Materials Group Co., Ltd.
L. Christopher Vejnoska

Orrick, Herrington & Sutcliffe LLP

The Orrick Building

405 Howard Street

San Francisco, CA 94105

Taishan Gypsum Co., Ltd.
Bernard Taylor

Alston & Bird LLP

1201 West Peachtree Street
Atlanta, GA 30309

Taian Taishan Plasterboard Co., Ltd.
Bernard Taylor

Alston & Bird LLP

1201 West Peachtree Street

Atlanta, GA 30309

 
» Case 2:09-md-02047-EEF-JCW Document 21115 Filed 01/08/18 Page 3 of 12

AO 440 (Rev, 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of Louisiana

Bayne, et al

 

Plaintiff(s)

Vv. Civil Action No. 17-08284 Section L

Taishan Gypsum Co., Ltd, et al

 

Nee ee ee ee ee ee ee ee lee ee ee

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Beijing New Building Materials (Group) Co., Ltd.
c/o L. Christopher Vejnoska
Orrick, Herrington & Sutcliffe LLP
The Orrick Building
405 Howard Street
San Francisco, CA 94105

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Leonard A. Davis, Esquire
Herman, Herman & Katz, LLC
820 O'Keefe Avenue

New Orleans, Louisiana 70113

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk

 
« Case 2:09-md-02047-EEF-JCW Document 21115 Filed 01/08/18 Page 4 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 17-08284 Section L

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

 

was received by me on (date)

© I personally served the summons on the individual at (place)

 

on (date) ; or

 

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

CO I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

on (date) ; Or
© I returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:

 
« Case 2:09-md-02047-EEF-JCW Document 21115 Filed 01/08/18 Page 5 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of Louisiana

Bayne, et al

 

Plaintiff(s)

Vv. Civil Action No. 17-08284 Section L

Taishan Gypsum Co., Ltd, et al

 

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Beijing New Building Materials Public Limited Co.
c/o L. Christopher Vejnoska
Orrick, Herrington & Sutcliffe LLP
The Orrick Building
405 Howard Street
San Francisco, CA 94105

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Leonard A. Davis, Esquire
Herman, Herman & Katz, LLC
820 O'Keefe Avenue

New Orleans, Louisiana 70113

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk

 
+ Case 2:09-md-02047-EEF-JCW Document 21115 Filed 01/08/18 Page 6 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No, 17-08284 Section L

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

 

was received by me on (date)

C1 I personally served the summons on the individual at (place)

 

on (date) > or

 

(1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

[J I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

on (date) 3 or
© I returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server’s address

Additional information regarding attempted service, etc:

 
« Case 2:09-md-02047-EEF-JCW Document 21115 Filed 01/08/18 Page 7 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of Louisiana

Bayne, et al

 

Plaintiff(s)

V. Civil Action No. 17-08284 Section L

Taishan Gypsum Co., Ltd, et al

 

Defendant(s)

eee ee ee ee eee ee ee ee

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) China National Building Material Co., Ltd.
clo L. Christopher Vejnoska
Orrick, Herrington & Sutcliffe LLP
The Orrick Building
405 Howard Street
San Francisco, CA 94105

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Leonard A. Davis, Esquire
Herman, Herman & Katz, LLC
820 O'Keefe Avenue

New Orleans, Louisiana 70113

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk

 
» Case 2:09-md-02047-EEF-JCW Document 21115 Filed 01/08/18 Page 8 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 17-08284 Section L

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

 

was received by me on (date)

C1 I personally served the summons on the individual at (place)

 

on (date) ; Or

 

(1 I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

C I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

on (date) 3 or
[7 J returned the summons unexecuted because 3 or
1 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server’s signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:

 
, Case 2:09-md-02047-EEF-JCW Document 21115 Filed 01/08/18 Page 9 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of Louisiana

Bayne, et al

 

Plaintiff(s)

v. Civil Action No. 17-08284 Section L

Taishan Gypsum Co., Ltd, et al

 

Nee Ne Ne ee ee ee ee ee ee ees ee

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Taishan Gypsum Co., Ltd.
Bernard Taylor
Alston & Bird LLP
1201 West Peachtree Street
Atlanta, GA 30309

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Leonard A. Davis, Esquire
Herman, Herman & Katz, LLC
820 O'Keefe Avenue

New Orleans, Louisiana 70113

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk

 
, Case, 2:09-md-02047-EEF-JCW Document 21115 Filed 01/08/18 Page 10 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 17-08284 Section L

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()))

This summons for (name of individual and title, if any)

 

was received by me on (date)

© I personally served the summons on the individual at (place)

 

on (date) ; Or

 

C1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

O I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

on (date) ; or
[ I returned the summons unexecuted because 5 or
C Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server’s signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:

 
, Case, 2:09-md-02047-EEF-JCW Document 21115 Filed 01/08/18 Page 11 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

Eastern District of Louisiana

Bayne, et al

 

Plaintiff(s)

Vv. Civil Action No. 17-08284 Section L

Taishan Gypsum Co., Ltd, et al

 

Defendant(s)
SUMMONS JIN A CIVIL ACTION

To: (Defendant's name and address) Taian Taishan Plasterboard Co., Ltd.
Bernard Taylor
Alston & Bird LLP
1201 West Peachtree Street
Atlanta, GA 30309

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Leonard A. Davis, Esquire
Herman, Herman & Katz, LLC
820 O'Keefe Avenue

New Orleans, Louisiana 70113

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk

 
Case, 2:09-md-02047-EEF-JCW Document 21115 Filed 01/08/18 Page 12 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No. 17-08284 Section L

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

 

was received by me on (date)

[1 I personally served the summons on the individual at (place)

 

on (date) 3; Or

 

(J I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

© I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

on (date) ; or
f I returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server’s signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:

 
